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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
USA 8
8
vs. § NO: EP:25-CR-00965(1)-DCG
§
(1) Jose Luis Rodriguez §

DEFENDANT’S MOTION FOR ADMINISTRATIVE SETTING
**IN LIEU OF APPEARANCE AT DOCKET CALL**

**See Court's Instruction #1 **
TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE

Comes now, undersigned counsel for the Defendant, (1) Jose Luis Rodriguez, on this day and
respectfully moves the Court to grant Counsel leave to enter this appearance administratively and in lieu of

appearing at the Docket Call scheduled for Wednesday, June 18, 2025 at 1:45 PM, and in support of said Motion
shows the Court as follows:

Ny Counsel, having previously requested or obtained O Continuances,
moves for Continuance of the Docket Call because of the need for investigation,
plea negotiations, and/or preparation of the defense due to complex discovery
issues in the case. Counsel further avers that the interest of justice outweighs the
interest of the Defendant and the public in a speedy trial and agree that the timing
from the scheduled docket calls through the next docket call, is excludable time
within the meaning of the Speedy Trial Act, 18 U.S.C. §§3161 et seg.

De The Defendant moves to have the above styled and numbered cause set for a Plea
Hearing and states that said Plea Hearing may be referred to the United States
Magistrate. The Defendant requests the plea be set ASAP, in 2 weeks,
in____—« 3: weeks. (The Plea Hearing date may NOT be scheduled after the
Court’s next regularly scheduled Docket Call date.)

3, The Defendant announces "Ready for Trial" and moves to have the above styled
and numbered cause set for a Trial on the merits at the Court's convenience.

4. This Motion is filed not later than two (2) business days prior to the scheduled

Docket Call.
Respectully submitted,
Za (signature)
j
Jose E. Troche (typed or printed name)

Defense Counsel for

Jose Luis Rodriguez (typed or printed name)
Defendant

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above Motion was served upon opposing counsel, UNITED

STATES ATTORNEY’S OFFICE by facsimile or electronically filed with the Clerk of the Court using the
CM/ECF System which will transmit notification of such filing to the Cae CM/ECF participant, in
accordance with the Federal Rules of Criminal Procedure on the C¢é_ day of “Steweve_ ;

2025. Co Ss

Defense Attorney

